Case 3:16-md-02741-VC Document 12649-2 Filed 03/01/21 Page 1 of 13




    EXHIBIT A
     Case
      Case3:19-md-02885-MCR-GRJ
            3:16-md-02741-VC Document
                                 Document
                                      12649-2
                                          1659Filed
                                                Filed
                                                    03/01/21
                                                      02/17/21Page
                                                               Page2 of
                                                                     1 of
                                                                        1312




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                         Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION
                                               Judge M. Casey Rodgers
 This Document Relates to All Cases            Magistrate Judge Gary R. Jones


                      COMMON BENEFIT ORDER NO. 3

       This Order is entered to provide for the fair and equitable sharing among

plaintiffs and their counsel, of the burden of services performed and expenses

incurred by attorneys acting for the common benefit of all plaintiffs in this complex

litigation. This Order specifically incorporates by reference herein, and makes

binding upon all the parties, the procedures and guidelines referenced in Common

Benefit Order No. 1 (ECF No. 488) and as amended by Common Benefit Order No.

2 (ECF No. 900).

I.     PURPOSE FOR THE ORDER

       This Order is intended to (1) avoid unnecessary conflicts and expense,

conserve judicial resources, and expedite the disposition of all the cases; (2) provide

for the fair and equitable sharing among Claimants, and their counsel, of the burden

of services performed and expenses incurred by counsel acting for the common

benefit of all Claimants in this complex litigation; and (3) enable Claimants’ counsel

to obtain fair access to the common-benefit work product.
      Case
       Case3:19-md-02885-MCR-GRJ
             3:16-md-02741-VC Document
                                  Document
                                       12649-2
                                           1659Filed
                                                 Filed
                                                     03/01/21
                                                       02/17/21Page
                                                                Page3 of
                                                                      2 of
                                                                         1312

                                                                          Page 2 of 12


        A.    Governing Principles and the Common Benefit Doctrine

        The common benefit governing principles are derived from the United States

Supreme Court’s common benefit doctrine, as initially established in Trustees v.

Greenough, 105 U.S. 527 (1881) and as refined in, inter alia, Central R.R. &

Banking Co. v. Pettus, 113 U.S. 116 (1885); Sprague v. Ticonic Nat’l Bank, 307 U.S.

161 (1939); Mills v. Elec. Auto-Lite Co., 396 U.S. 375 (1970); Boeing Co. v. Van

Gemert, 444 U.S. 472 (1980); and approved and implemented in the MDL context

in, inter alia, In re Air Crash Disaster at Florida Everglades on December 29, 1972,

549 F.2d 1006, 1019-21 (5th Cir. 1977); and In re MGM Grand Hotel Fire Litig.,

660 F. Supp. 522, 525-29 (D. Nev. 1987). Common benefit work product includes

all work performed for the benefit of all Claimants, including pre-trial matters,

discovery, trial preparation, a potential settlement process, and all other work that

advances this litigation to conclusion.

II.     APPLICATION OF THE ORDER

        This Order applies to all cases now pending (Administrative or MDL docket),

as well as to any case later filed in, transferred to, or removed to this Court and

included as part of the coordinated proceeding known as In re 3M Combat Arms

Earplug Products Liability Litigation, Case No. 3:19-md-2885 (“MDL” or “MDL

2885”). This Order further applies to all Participating Counsel, which includes the

following: (1) all counsel who voluntarily sign the Participation Agreement; (2) all

Case No. 3:19-md-2885/MCR/GRJ
   Case
    Case3:19-md-02885-MCR-GRJ
          3:16-md-02741-VC Document
                               Document
                                    12649-2
                                        1659Filed
                                              Filed
                                                  03/01/21
                                                    02/17/21Page
                                                             Page4 of
                                                                   3 of
                                                                      1312

                                                                          Page 3 of 12


counsel with a fee interest in any case(s) pending, later filed in, transferred to, or

removed to this Court as part of MDL 2885, regardless of whether or not counsel

signs the Participation Agreement, and regardless of whether or not counsel also has

cases outside the MDL (filed or unfiled) (“MDL Plaintiffs’ Counsel”); and (3) any

counsel who were not otherwise Participating Counsel but who obtain access to or

receive the common benefit work product of MDL 2885.

      A.     Participation Agreement (Exhibit A)

      Exhibit A, attached hereto and incorporated herein, is a voluntary

Participation Agreement between: (1) Plaintiffs’ Executive Committee (“PEC”) and

other Claimants’ counsel performing common benefit work in connection with the

MDL and (2) other Claimants’ counsel who elect to sign the Participation

Agreement. The Participation Agreement is a private and cooperative agreement

between Claimants’ counsel only, and not Defendants’ counsel.           Participating

Counsel will be entitled to receive all common benefit work product created by the

Plaintiffs’ Steering Committee (“PSC”).

      The Court has been advised that Plaintiffs’ Lead and Co-Lead Counsel and all

members of Plaintiff Leadership have already signed or will sign the Participation

Agreement, subjecting themselves and their cases, whether filed in this MDL

proceeding (Administrative or MDL docket), filed in another venue, unfiled, or

tolled, to an assessment of the Gross Monetary Recovery, as defined in III.B.1.

Case No. 3:19-md-2885/MCR/GRJ
   Case
    Case3:19-md-02885-MCR-GRJ
          3:16-md-02741-VC Document
                               Document
                                    12649-2
                                        1659Filed
                                              Filed
                                                  03/01/21
                                                    02/17/21Page
                                                             Page5 of
                                                                   4 of
                                                                      1312

                                                                            Page 4 of 12


       All Claimants’ counsel who currently have cases pending in this MDL court

or any state court and who want to become a Participating Counsel must, within 60

days of this Order, execute the Participation Agreement, if that counsel intends to

voluntarily become a Participating Counsel at the fee and expense percentage set

forth in III.B.2.a. Any Claimants’ counsel who does not yet have a case filed in this

MDL court or state court and who wants to become a Participating Counsel must

execute the Participation Agreement within 60 days of the date their first case is filed

in the MDL court or any state court, if that counsel intends to voluntarily become a

Participating Counsel at the fee and expense percentage set forth in III.B.2.a. Failure

to execute a Participation Agreement indicating that Claimant’s counsel will be a

Participating Counsel within the time frame set forth in this paragraph will result in

a higher percentage for common benefit assessment as a result of such later

participation, as set forth in III.B.2.b.

       The Court recognizes the jurisdictional rights and obligations of the state

courts to conduct their state court litigation as they so determine and that the state

court litigations may include counsel who are Participating Counsel. This Order and

the Participation Agreement are not intended to be cited by a party to the

Participation Agreement in any other court in support of a position that adversely

impacts the jurisdictional rights and obligations of the state courts and state court

Participating Counsel.

Case No. 3:19-md-2885/MCR/GRJ
   Case
    Case3:19-md-02885-MCR-GRJ
          3:16-md-02741-VC Document
                               Document
                                    12649-2
                                        1659Filed
                                              Filed
                                                  03/01/21
                                                    02/17/21Page
                                                             Page6 of
                                                                   5 of
                                                                      1312

                                                                         Page 5 of 12


III.   LITIGATION FEE AND EXPENSE FUNDS

       A.    Establishing the Fee and Expense Funds

       At an appropriate time, the Common Benefit Fund (“CBF”) Committee will

be directed to establish two interest-bearing accounts to receive and disburse funds

as provided in this Order (the “Funds”). The first fund will be designated the “3M

Combat Arms Fee Fund” and the second fund will be designated the “3M Combat

Arms Expense Fund.” These funds will be held subject to the direction of this Court.

       B.    Payments into the Fee and Expense Funds

       All Claimants and their counsel who are subject to this Order and who agree

to settle, compromise, dismiss, or reduce the amount of a claim or, with or without

trial, recover a judgment for monetary damages or other monetary relief, including

such compensatory and punitive damages, with respect to 3M Combat Arms

Products Liability claims are subject to an assessment of the gross monetary

recovery, as provided in III.B.2.a. and III.B.2.b.

             1.     Gross Monetary Recovery

       A “Gross Monetary Recovery” occurs when a Claimant or his/her counsel

 either agrees or have agreed, for monetary consideration, to settle, compromise,

 dismiss, or reduce the amount of a claim or, with or without trial, recover a

 judgment for monetary damages or other monetary relief, including compensatory

 and punitive damages (hereinafter a “Settlement”), with respect to any 3M Combat

Case No. 3:19-md-2885/MCR/GRJ
   Case
    Case3:19-md-02885-MCR-GRJ
          3:16-md-02741-VC Document
                               Document
                                    12649-2
                                        1659Filed
                                              Filed
                                                  03/01/21
                                                    02/17/21Page
                                                             Page7 of
                                                                   6 of
                                                                      1312

                                                                          Page 6 of 12


Arms Products Liability claim. In measuring the Gross Monetary Recovery, the

parties are to (a) exclude court costs that are to be paid by the Defendants; (b)

include any payments to be made by the Defendants on an intervention asserted by

third-parties, such as to physicians, hospitals, or other healthcare providers in

subrogation related to treatment of a plaintiff, and any governmental liens or

obligations; and (c) include the present value of any fixed and certain payments to

be made in the future.

             2.    Assessment Amount

                   a.     Claimants’ counsel with cases currently pending in this

MDL or any state court, and any counsel with subsequently filed cases in this MDL

or any state court, who elect to execute the Participation Agreement within the time

frame set forth in II.A will be subject to a nine percent (9%) assessment on all 3M

Combat Arms Products Liability cases in which they have a fee interest if they

receive common benefit work product or otherwise benefit by the work performed

by Participating Counsel. This assessment represents a hold back. See In re Zyprexa

Prods. Liab. Litig., 467 F.Supp.2d 256, 266 (E.D.N.Y. 2006).

                   b.     Claimants’ counsel with cases currently pending in this

MDL or any state court, and any counsel with subsequently filed cases in this MDL

or any state court, who elect not to execute the Participation Agreement within the

time frame set forth in II.A. will be subject to a fifteen percent (15%) assessment on

Case No. 3:19-md-2885/MCR/GRJ
      Case
       Case3:19-md-02885-MCR-GRJ
             3:16-md-02741-VC Document
                                  Document
                                       12649-2
                                           1659Filed
                                                 Filed
                                                     03/01/21
                                                       02/17/21Page
                                                                Page8 of
                                                                      7 of
                                                                         1312

                                                                             Page 7 of 12


all 3M Combat Arms Products Liability cases in which they have a fee interest if

they receive common benefit work product or otherwise benefit by the work

performed by Participating Counsel. This assessment represents a hold back. See

id.

                    c.     Claimants’ counsel who currently have cases pending in

this MDL court or any state court and want to become a Participating Counsel but

object to the assessment amount(s) in III.B.2.a or III.B.2.b above must file an

objection within ten (10) days of this Order. Claimants’ counsel who do not yet have

a case filed in the MDL court or any state court and who want to become a

Participating Counsel but object to the assessment amount(s) in III.B.2.a or III.B.2.b

above must file an objection within ten (10) days of the date their first case is filed

in the MDL court or any state court.

        C.    Reporting Obligations

        The Plaintiffs’ Co-Liaison Counsel (“PLC”) must provide to Defendants’

Liaison Counsel the following two lists on a quarterly basis: (a) a list of all cases and

counsel who have filed a case that is pending in the MDL (“the MDL Counsel List”)

and (b) a list of all cases and counsel who have executed the Participation Agreement

who do not have a case pending in the MDL (“the Non-MDL Participating Counsel

List”). These same lists must be made available to all Claimants’ counsel with cases

in this MDL and on request of any other Claimants’ counsel who sign the

Case No. 3:19-md-2885/MCR/GRJ
   Case
    Case3:19-md-02885-MCR-GRJ
          3:16-md-02741-VC Document
                               Document
                                    12649-2
                                        1659Filed
                                              Filed
                                                  03/01/21
                                                    02/17/21Page
                                                             Page9 of
                                                                   8 of
                                                                      1312

                                                                          Page 8 of 12


Participation Agreement. In the event there is a dispute as to whether a case should

be on the lists, Plaintiffs’ Lead and Co-Lead Counsel must seek to resolve the matter

with the particular Claimant’s counsel informally, and if that is unsuccessful, on

motion to the Court.

      Within fourteen (14) days of receipt of these two lists from the PLC,

Defendants’ Liaison Counsel must provide the PLC a list of all lawyers who appear

as counsel of record on a complaint in any 3M Combat Arms Products Liability case

in any court in the United States (state or federal) who do not appear on either the

MDL Counsel List or the Non-MDL Participating Counsel List. The parties’

reporting obligations will continue quarterly until the conclusion of this MDL.

      D.    Defendants’ Obligations

      Defendants and their counsel must not distribute any settlement proceeds to

any Claimant or Claimant’s counsel until after (1) Defendants’ counsel notifies the

PLC in writing of the existence of a settlement and the name of the Claimant and

individual Claimants’ counsel; and (2) the PLC has advised Defendants’ counsel in

writing whether or not the individual Claimant’s counsel’s cases are subject to an

assessment pursuant to this Order. The PLC must be permitted to share this

information with the CBF Committee and Special Master Randall Sansom, CPA,

who must otherwise keep this information confidential.




Case No. 3:19-md-2885/MCR/GRJ
   Case
    Case3:19-md-02885-MCR-GRJ
         3:16-md-02741-VC Document
                              Document
                                   12649-2
                                        1659Filed
                                               Filed
                                                  03/01/21
                                                     02/17/21Page
                                                               Page
                                                                  10 9ofof13
                                                                           12

                                                                            Page 9 of 12


      For cases subject to an assessment, Defendants are directed to withhold an

assessment from any and all amounts paid to Claimants and their counsel and to pay

the assessment directly into the Funds as a credit against the settlement or judgment.

No orders of dismissal of any claim or case that is subject to this Order will be sought

by any Claimant’s or Defendants’ counsel unless accompanied by a certificate of

Claimant’s and Defendants’ counsel that the assessment, where applicable, will be

withheld and will be deposited into the Funds at the same time the settlement

proceeds are paid to the settling Claimant or his/her counsel or designee. If for any

reason the assessment is not or has not been so withheld, the Defendants as well as

the Claimant and his or her counsel are jointly responsible for paying the assessment

into the Funds promptly.

      Counsel for each Defendant must provide at least quarterly notice to the Court

and Special Master Sansom, who will share the notice with the CBF Committee, of

the names and docket numbers of the cases for which it has paid an assessment into

the Funds since the last such report. A report is not due if there are no payments

made into the Funds by that Defendant during that quarter. Details of any individual

settlement agreement, individual settlement amount and individual amounts

deposited into escrow will be confidential and must not be disclosed by Special

Master Sansom to anyone unless the Court requests the information. Monthly

statements from Special Master Sansom, however, will be provided to the CBF

Case No. 3:19-md-2885/MCR/GRJ
  Case
   Case3:19-md-02885-MCR-GRJ
         3:16-md-02741-VC Document
                              Document
                                   12649-2
                                       1659Filed
                                             Filed
                                                 03/01/21
                                                   02/17/21Page
                                                            Page1110
                                                                   of of
                                                                      1312

                                                                        Page 10 of 12


Committee and the Court showing only the aggregate of the monthly deposits,

disbursements, interest earned, financial institution charges, if any, and current

balance.

IV.   ASSESSMENT DISTRIBUTIONS

      A.     Common Benefit Expenses

      In order to be eligible for reimbursement of common benefit expenses, said

expenses must meet the requirements and the limitations set forth in the Common

Benefit Fund Orders entered by this Court.

      B.     Procedures and Forms

      The procedures and forms as set forth in Common Benefit Orders Nos. 1 and

2 (ECF Nos. 488 and 900) are incorporated by reference as if fully set forth herein.

      C.     Court Approval

      The amounts deposited in the Funds must be available for distribution to

Participating Counsel who have performed professional services or incurred

expenses for the common benefit. Amounts will be distributed only on order of this

Court. This Court retains jurisdiction over any common benefit award or distribution

and, in furtherance of state-federal cooperation, may receive input from state court

judges.




Case No. 3:19-md-2885/MCR/GRJ
  Case
   Case3:19-md-02885-MCR-GRJ
         3:16-md-02741-VC Document
                              Document
                                   12649-2
                                       1659Filed
                                             Filed
                                                 03/01/21
                                                   02/17/21Page
                                                            Page1211
                                                                   of of
                                                                      1312

                                                                           Page 11 of 12


      D.       Distribution

      At a time and in a manner ordered by the Court, each Participating Counsel

who does common benefit work must present their claim(s) for compensation and/or

reimbursement prior to any distribution approved by this Court. Any Claimants’

counsel who does not sign the Participation Agreement in accordance with this Order

will not be eligible to receive common benefit payments for any work performed or

expenses incurred. At the appropriate time, the Court will enter an order regarding

the protocols and procedures for Special Master Dave Herndon to make

recommendations to the Court on common benefit fee allocations.

      Accordingly,

      The Clerk of Court is DIRECTED to file a copy of this Order in 3:19-md-

 2885, and the Order will apply to each member related case previously transferred

 to, removed to, or filed in this district, as well as to any case subsequently

 transferred to, removed, or filed in this district. This includes cases on both the

 administrative and MDL dockets.

      It is the responsibility of the parties to review and abide by all pretrial orders

entered by the Court. The orders may be accessed through PACER, as well as on




Case No. 3:19-md-2885/MCR/GRJ
  Case
   Case3:19-md-02885-MCR-GRJ
         3:16-md-02741-VC Document
                              Document
                                   12649-2
                                       1659Filed
                                             Filed
                                                 03/01/21
                                                   02/17/21Page
                                                            Page1312
                                                                   of of
                                                                      1312

                                                                 Page 12 of 12


the 3M Combat Arms Earplug Products Liability Litigation website at

http://www.flnd.uscourts.gov/mdl2885.

      DONE and ORDERED, on this 17th day of February, 2021.



                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE




Case No. 3:19-md-2885/MCR/GRJ
